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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                 Alexandria Division


UNITED STATES OF AMERICA              )
                                      )
            v.                        )       Criminal No. 1:18-CR-457 (AJT)
                                      )
BIJAN RAFIEKIAN, et al.               )
                                      )
                   Defendants.        )


                          GOVERNMENT’S WITNESS LIST

      1.    Bryan Alfredo
      2.    Michael Boston
      3.    James Courtovich
      4.    John Elliott
      5.    David Enders
      6.    Jeffrey Gilday
      7.    Robert Kelner
      8.    Greg Lowman
      9.    Bryan McCauley
      10.   Graham Miller
      11.   Jeffrey Olson
      12.   Kim Rosecrans
      13.   Grant Smith
      14.   Kristen Verderame




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                                            Respectfully submitted,

                                            G. ZACHARY TERWILLIGER
                                            UNITED STATES ATTORNEY


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                                     CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2019, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to counsel of record.

                                              Respectfully submitted,


                                                     /s/
                                              John T. Gibbs
                                              Assistant United States Attorney




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